         Case 9:16-cr-00029-DWM Document 103 Filed 10/01/18 Page 1 of 1



                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                           MISSOULA DIVISION



 UNITED STATES OF AMERICA,                           CR 16-29-M-DWM-1

                      Plaintiff,
                                                             ORDER
        vs.

 BRETT WILLIAM REUM,

                      Defendant.


      The government having moved unopposed for leave to allow its expert to

testify via video at the upcoming final revocation hearing in this matter,

      IT IS ORDERED that the government's motion (Doc. 102) is GRANTED.

Dr. Leo J. Kadehjian may testify via video at the final revocation hearing

scheduled for October 17, 2018, at 9:00 a.m. Counsel for the government is

req~jed to coordinate that appearance with the Court's IT staff.

      Dated this Zaf-aay of October, 2018.
                                                              /

                                                 I




                                                ~.
